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AO 106 (Rev. 04/10) Application for a Search Warrant (Modified: WAWD 10-26-18)

 

 

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UNITED STATES DISTRICT COURT eaves
for the 03/10/2021

Western District of Washington

 

CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA
BY DEPUTY

 

 

 

In the Matter of the Search of

(Briefly describe the property to be searched
or identifv the person by name and address)

Four (4) cell phones, more fully described in
Attachments A, and Al-A4, attached hereto and
incorporated herein by reference

Case No, 3:21-mj-05054

a i i

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

property to be searched and give its location):
Four (4) cell phones, more fully described in Attachments A, and Al-A4, attached hereto and incorporated herein by reference.

 

located in the Western District of Washington , there is now concealed (identify the
person or describe the property to be seized): :

See Attachment B, attached hereto and incorporated herein by reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
[ a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section oo _ Offense Description
21 USC 841a, 843, 846,952 Possession with intent to distribute and distribution of controlled substances; use of
18 USC 1956, 1957 communications facility in furtherance of drug offense; importation of controlled

substances; money laundering; conspiracy to commit above offenses.
The application is based on these facts:

See Affidavit of Luke Brandeberry, continued on the attached sheet.

[] Delayed notice of days (give exact ending date if more than 30 days: is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

Pursuant to Fed, R. Crim. P. 4.1, this warrant is presented: lV by reliable glectronic means; or: [| telephonically recorded.

Applicaag’s sf ‘S Syenature

Luke Brandeberry, Task Force Officer, DEA

Printed name and title

 

© The foregoing affidavit was sworn to before me and signed in my presence, or
© The above-named agent provided a sworn statement attesting to the truth of the foregoing affidavit-py telephone.

Date: 03/10/2021 So Ni rudy L che

Judge's signature

City and state: Tacoma, Washington . Theresa L. Fricke, United States Magistrate Judge
Printed name and title

 

 

USAO: 2019R00460

 
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AFFIDAVIT

STATE OF WASHINGTON )
) ss
COUNTY OF PIERCE )

I, Luke A. Brandeberry, Task Force Officer, Drug Enforcement Administration,

United States Department of Justice, being first duly sworn on oath, depose and state:
I. AFFIANT BACKGROUND AND QUALIFICATIONS

1. Iam a Task Force Officer (TFO) of the DEA, currently assigned to the
Tacoma Resident Office, located within the Seattle, Washington, Field Division. As
such, I am an investigative or law enforcement officer of the United States, within the
meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law
to conduct investigations of and to make arrests for offenses enumerated in Section 2516
of Title 18, United States Code. I have been a TFO since February of 2019. [ama
commissioned law enforcement officer of the Kent Police Department. I have a total of
12 years’ experience as a police officer. During my time as a police officer, I have
worked uniformed patrol, as well as plain clothes investigations. As a detective with the
Kent Police Department Special Investigations Unit and a TFO with the DEA, I have
participated in hundreds of investigations that involved drug-related offenses. These
cases involved the use of undercover agents and confidential sources to investigate the
trafficking of methamphetamine, heroin, cocaine, ecstasy, firearms, and various abused
prescription drugs. In many of these cases, I acted as the case agent, confidential source
handler, and/or undercover purchaser.

2. Iam a graduate of McDaniel College, and hold a bachelor’s degree in
Sociology with emphasis in Criminal Justice. In 2007, I completed a six-month entry-
level police academy in Montgomery County, Maryland. Since then, I have received
over 300 hours of instruction specific to controlled substance and financial investigations.

3. I am responsible for investigations involving specified unlawful activities,

to include the distribution of methamphetamine, heroin, and cocaine in the Western

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District of Washington. I am also responsible for enforcing federal narcotics laws and
related statutes in the Western District of Washington. I received training on the proper
investigative techniques for these violations, including the use of confidential sources,
undercover agents/officers, the identification of drug trafficking organizations and
identifying the movement of narcotics and narcotic proceeds to and from Western
Washington. I have actively participated in investigations of criminal activity, including
but not limited to crimes against persons, crimes against property, and narcotics-related
crimes. During these investigations, I have also participated in the execution of search
warrants and the seizure of evidence indicating the commission of criminal violations.
As a law enforcement officer, I have testified under oath, attested to applications in
support of search and arrest warrants, and obtained electronic monitoring orders. I have
also assisted with several Title III (i.e., wiretap) investigations during my time as a DEA
TFO. During those wiretap investigations, I have worked in the wire room where I have
gained experience with minimization and evidence gathering from this type of
investigation.

4. I have participated in the debriefing of defendants, witnesses, and
informants, during which time I have discussed with them their methods of drug
smuggling, distribution, packaging, trafficking, avoiding law enforcement, and
laundering proceeds, among other concerns related to drug trafficking. I have discussed
and learned from other law enforcement investigators in regards to these matters as well.

5. Through my training and experience, I have encountered and become
familiar with various tools, methods, trends, paraphernalia and related articles utilized by
various traffickers in their efforts to import, export, conceal and distribute controlled
substances. I am also familiar with the manner in which drug traffickers use telephones,
often cellular telephones, to conduct their unlawful operations, and how they code their
conversations to disguise their unlawful activities.

6. I have obtained the facts set forth in this Affidavit through my personal

participation in the investigation described below; from oral and written reports of other

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law enforcement officers; from witnesses and informants cooperating with law
enforcement, and from records, documents and other evidence obtained during this
investigation. I have obtained and read official reports prepared by law enforcement
officers participating in this investigation and in other investigations.

7. Because I am submitting this Affidavit to establish probable cause to search
the phones described further below, this Affidavit does not contain every fact known to
me or learned during the course of this investigation. Instead, I have set forth only the
facts that I believe are essential to establish the necessary foundation for the issuance of

such warrants and a fair determination of probable cause.
Il. PURPOSE OF AFFIDAVIT

8. I am submitting this Affidavit in support of an application to search the
following four cell phones, as further described in Attachments A, and A1l-A4, for
evidence, fruits and instrumentalities of drug trafficking and related money laundering
crimes committed by a drug trafficking organization (DTO) and its associates, in
violation of Title 21, United States Code, Sections 841(a)(1), 843(b), 846, and 952, and
Title 18, United States Code, Sections 1956 and 1957, as further described in Attachment
B. I have identified the cellular phones that investigators are requesting authorization to
search in bold font throughout this Affidavit. The four (4) phones are more particularly
described as follows:

a) A black Alcatel flip cell phone seized during the execution of a federal

search warrant at the residence of Juan Antonio GONZALEZ-CARRILLO (731

West 148" Street, Gardena, California), and listed in DEA reports as Exhibit N-

107, as further described in Attachment A1;

b) A Samsung Galaxy Note 9 cell phone seized during the execution of a
federal search warrant at the residence of Juan Antonio GONZALEZ-CARRILLO
(731 West 148" Street, Gardena, California), and listed in DEA reports as Exhibit
N-108, as further described in Attachment A2;

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c) A white Apple Iphone seized during the execution of a federal search

warrant at the residence of Juan Antonio GONZALEZ-CARRILLO (731 West

148" Street, Gardena, California), and listed in DEA reports as Exhibit N-109, as

further described in Attachment A3;

d) A blue Motorola cell phone seized during the arrest of fugitive Jose Elias

BARBOSA, and listed in DEA reports as Target Telephone 116 (TT116) and

Exhibit N-32, as further described in Attachment A4.

9. On July 23, 2020, the Grand Jury returned an Indictment against multiple
DTO members, including Juan Antonio GONZALEZ-CARRILLO and Jose Elias
BARBOSA in United States v. Gomez Marentes, et al., 20-cr-00092-JCC.

10. On July 28, 2020, investigators executed multiple coordinated search
warrants targeting the DTO and arrested a number of the named defendants. Although
investigators attempted to arrest GONZALEZ-CARRILLO and BARBOSA, they were
unsuccessful. As detailed below, BARBOSA has since been arrested. GONZALE7Z-
CARRILLO remains a fugitive.

11. The first three cell phones, further described in Attachments A1 through
A3, were seized on July 28, 2020, by DEA agents during the coordinated execution of
warrants and arrests. These three cell phones were seized from the residence of
GONZALEZ-CARRILLO at 731 West 148" Street, Gardena, California, pursuant to a
warrant authorized in the Central District of California. The phones were secured in
California and sent to the case agents in Tacoma, Washington on July 28, 2020. Agents
were not able to search these phones within the time provided by the search warrant, due
to the delay in receiving these three phones from California. These three phones were
booked into evidence at the DEA in Tacoma, Washington pending application for a
follow-up search warrant.

12. The fourth phone was seized on September 30, 2020 during the arrest of
fugitive DTO member Jose Elias BARBOSA in Kent, WA. At the time of the arrest,
DEA agents were tracking BARBOSA’s phone (TT116), pursuant to a federal tracking

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warrant. Agents located BARBOSA based on the GPS pings provided by TT116. At the
time of BARBOSA’s arrest, he was in possession of the blue Motorola cell phone,
further described in Attachment A4, which was found in BARBOSA’s pants pocket.
Agents noted that the GPS tracking for TT116 moved with the location of the blue
Motorola cell phone, to include when it was transported to the DEA Tacoma Resident
Office (TRO) and booked into evidence. Accordingly, agents believe that the blue
Motorola cell phone is TT116.

13. On October 19, 2020, the Honorable Brian A. Tsuchida, Chief United
States Magistrate Judge authorized the search of the same four target devices listed in this
affidavit (MJ 20-672).

14. On October 22, 2020, intelligence personnel with the DEA Tacoma
Resident Office attempted to examine and seize pertinent content from the devices and
found that the devices were locked via password or other authentication method. Agents
were unable to retrieve any data from the devices using the examination equipment at-
hand. The devices were subsequently resealed and placed back into evidence at the
Tacoma Resident Office.

15. Since this time, investigators have learned that an alternate DEA facility
possesses equipment with greater capabilities to unlock or bypass the locks on these
devices. For this reason, agents request authorization to attempt to re-examine the
devices, including by using these greater capabilities.

Il. SOURCES OF INFORMATION

16. Confidential Source 6 (CS6) has worked with Homeland Security
Investigations (HSI) Seattle since August 2018 and was previously a confidential source
with the Valley Narcotics Enforcement Team (VNET) since November 2015. CS6 is
providing information and services in exchange for immigration benefits. CS6 has a
misdemeanor arrest/conviction for driving under the influence as well as a misdemeanor
arrest/conviction for identity theft. CS6 has two previous immigration arrests and
voluntary departures from 1998.

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17. When this affidavit refers to vehicle ownership, either I or other agents
involved in the investigation have reviewed the relevant state vehicle records from the
Washington State Department of Licensing (DOL), or the equivalent agency in other
states. Similarly, when I refer to identification documents, either I or other agents
involved in the investigation have reviewed the relevant driver license or similar records
maintained by DOL or the equivalent agencies in other states. When I refer to the
criminal history of a subject, either I or other agents involved in the investigation have
reviewed the available criminal history from state or federal agencies. When I refer to
telephone subscription records, either I or other agents involved in the investigation have
reviewed the subscriber records obtained from the telephone company by administrative
subpoena or court order, or I have obtained the information from other law enforcement
bfficers familiar with this investigation. When I refer to telephone toll records, either I or
pther agents involved in the investigation have received the information from the
telephone company pursuant to an administrative subpoena or court authorized pen
registers. When I refer to beliefs or suspicions held by investigators, these beliefs or
suspicions are based upon training and experience.

18. In the following paragraphs, I describe communications between various
individuals. Except where specifically indicated with quotation marks, the descriptions
Are summaries of the conversations and are not intended to present a verbatim recitation of
the words used by the participants. I know through training and experience, as well as the
training and experience of other law enforcement officers familiar with this investigation,
that individuals involved in the distribution of controlled substances and other criminal
Activity often use vague references and/or coded words and phrases when discussing
illegal activity. When such words are used in the this investigation, I have used this
training and experience, as well as the training and experience of other law enforcement
officers familiar with this investigation, to include what I believe to be an accurate

translation of these coded words and phrases. In the context of transcribed calls, I have

 

 

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included in parentheses the translation for coded words and phrases used by the
participants.

19. All intercepted calls and text messages referenced in this Affidavit that
occurred in Spanish were monitored by linguists who have training and experience
monitoring and documenting intercepted communications in Spanish. These linguists
also have training and experience interpreting coded drug-related conversations and
vague references to drug trafficking topics, both of which are tactics commonly used by
drug trafficking suspects in an attempt to conceal their illegal activities. Unless otherwise
noted, the remaining communications detailed in this Affidavit occurred in Spanish, and
the English translations as provided by the linguists are set forth

IV. PROBABLE CAUSE

A. Introduction

20. This is a multi-agency investigation into a drug trafficking organization
(DTO) distributing multi-kilo quantities of narcotics in Western Washington. Through
the use of confidential source information and traditional investigative techniques, agents
discovered that Juan Antonio GONZALEZ-CARRILLO, Jose Elias BARBOSA, and
others known and unknown, were involved in the distribution of methamphetamine,
heroin, and counterfeit oxycodone containing fentanyl, commonly referred to as M30s.
During this investigation, agents conducted multiple controlled purchases of drugs using
confidential sources, conducted physical and electronic surveillance, and intercepted
hundreds of calls and text messages by way of a court-authorized wiretap. In July 2020,
federal law enforcement arrested a number of individuals associated with the DTO, who
are being prosecuted in United States v. Gomez-Marentes, et al., CR 20-92-JCC. In
December 2020, federal law enforcement arrested additional individuals associated with
the DTO, who are being prosecuted in United States v. Valdez-Sanudo, et al., CR 20-
217JCC. This investigation began in January 2019.

 

 

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B. Summary of Authorizations to Intercept DTO Members!

21. On September 20, 2019, the Honorable James L. Robart, United States
District Court Judge for the Western District of Washington, signed an order authorizing
the initial 30-day interception of wire and electronic communications over TT1 (425-524-
8918), used by Omar VAZQUEZ-LIMON, and TT2 (503-891-0312), used by an
individual previously referred to as “PRIETO” (aka “PRIMO”), whom agents believed
may be Alejandro AVALOS-MARTINEZ, and who has now been identified as Jose Elias
BARBOSA.

22. On October 25, 2019, the Honorable James L. Robart, United States
District Court Judge for the Western District of Washington, authorized the initial 30-day
interception of wire and electronic communications over TT4 (206-539-8614), used by
Alan GOMEZ-MARENTES; TT6 (253-335-3991), used by Omar Paul VAZQUEZ-
LIMON; and TT 10 (425-523-2163), used by BARBOSA.

23. On March 2, 2020, the Honorable James L. Robart, United States District
Court Judge for the Western District of Washington, authorized the renewed 30-day
interception of wire and electronic communications over TT21 (509-595-9070), used by
Alan GOMEZ-MARENTES, and the initial 30-day interception of wire and electronic
communications over TT23 (425-515-7605), used by Ruth GOMEZ-MARENTES; TT28
(206-480-7388), used by HUESOS and Alan GOMEZ-MARENTES; TT34 (425-523-
2787), used by Jose Daniel ESPINOZA; and TT37 (425-321-9129), used by Jose Elias
BARBOSA.

24. On March 24, 2020, the Honorable Ricardo S. Martinez, Chief United
States District Court Judge for the Western District of Washington, authorized the initial
30-day interceptions of wire and electronic communications over TT41 (253-398-4763),
used by Jose Elias BARBOSA and TT44 (562-261-3666), used by Alan GOMEZ-
MARENTES.

 

' Although authorized, some of the aforementioned phones were either not ultimately intercepted or interception was
terminated early. Details regarding those occurrences are not provided herein.
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25. On April 6, 2020, the Honorable Ricardo S. Martinez, Chief United States
District Court Judge for the Western District of Washington, authorized the renewed 30-
day interceptions of wire and electronic communications over TT34 (425-523-2787),
used by Jose Daniel ESPINOZA, and the initial 30-day interceptions of wire and
electronic communications over TT47 (626-277-5890), used by Alan GOMEZ-
MARENTES, and TT48 (206-698-1700), used by Luis MAGANA-RAMIREZ.

26. On April 20, 2020, the Honorable Ricardo S. Martinez, Chief United States
District Court Judge for the Western District of Washington, authorized the continued 30-
day interceptions of wire and electronic communications over TT41, used by Jose Elias
BARBOSA, and the initial 30-day interceptions of wire and electronic communications
over TT50 (253-886-8896), used by Leobardo RAMIREZ-MIRAMONTES, and TTS1
(425-523-2104), used by Luis MAGANA-RAMIREZ.

27. On April 30, 2020, the Honorable Ricardo S. Martinez, Chief United States
District Court Judge for the Western District of Washington, authorized the renewed 30-
day interception of wire and electronic communications over TT23 (425-515-7605), used
by Ruth GOMEZ-MARENTES, and the initial 30-day interception of wire and electronic
communications over TT5S9 (360-660-0756), used by MAGANA-RAMIREZ.

28. On May 18, 2020, the Honorable Ricardo S. Martinez, Chief United States
District Court Judge for the Western District of Washington, authorized the initial 30-day
interception of wire and electronic communications over TT67 (562-382-0812) and
various and changing cellular telephones used by Alan GOMEZ-MARENTES.

29. On May 28, 2020, the Honorable Ricardo S. Martinez, Chief United States
District Court Judge for the Western District of Washington, authorized the continued 30-
day interception of wire and electronic communications over TT23 (425-515-7605), used
by Ruth GOMEZ-MARENTES.

30. On June 12, 2020, the Honorable Ricardo S. Martinez, Chief United States
District Court Judge for the Western District of Washington, authorized the initial 30-day

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interception of wire and electronic communications over TT64 (206-712-0700), used by
Omar VAZQUEZ-LIMON.

31. On June 30, 2020, the Honorable Ricardo S. Martinez, Chief United States
District Court Judge for the Western District of Washington, authorized the renewed 30-
day interception of wire and electronic communications over TT67 (562-382-0812), used
by Alan GOMEZ-MARENTES, and the initial 30-day interception of wire and electronic
communications over TT81 (206-705-0456), used by Jorge MONDRAGON, and TT84
(206-945-0907), used by Omar VAZQUEZ-LIMON.

32. On August 12, 2020, the Honorable Ricardo S. Martinez, Chief United
States District Court Judge for the Western District of Washington, authorized the initial
30-day interception of wire and electronic communications over TT96 (206-742-1092),
used by Omar VAZQUEZ-LIMON. Just after midnight on August 18, 2020,
VAZQUEZ-LIMON abandoned TT96 at the Snoqualmie Casino. Investigators reviewed
casino surveillance video and it appeared that the phone was unintentionally left behind
by VAZQUEZ-LIMON. Investigators waited until August 21, 2020 hoping that
VAZQUEZ-LIMON would recover the phone and start using it again, which he did not.
Investigators terminated the interception of TT96 on August 21, 2020.

33. On October 30, 2020, the Honorable Ricardo S. Martinez, Chief United
States District Court Judge for the Western District of Washington, authorized the initial
30-day interception of wire and electronic communications over TT129 (206-712-3156)
and various and changing cellular telephones used by Cesar VALDEZ-SANUDO. On
November 2, 2020, agents began intercepting communications over TT129 as well as
TT134, a new phone number for VALDEZ-SANUDO. On November 5, 2020, at
4:53pm, agents requested deactivation of interceptions over TT129, as the phone was no
longer being used by VALDEZ-SANUDO. On November 6, 2020, agents began
interception of TT135, an additional phone obtained by VALDEZ-SANUDO. On
November 16, 2020, agents began interception of TT139, used by VALDEZ-SANUDO.
On November 21, 2020, agents requested termination of TT134 and TT135, as

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VALDEZ-SANUDO was no longer using the phones. On November 26, 2020, agents
began interception of TT145, used by VALDEZ-SANUDO. On November 27, 2020,
agents requested interception of TT147, used by VALDEZ-SANUDO.

34. On December 7, 2020, the Honorable Ricardo S. Martinez, Chief United
States District Court Judge for the Western District of Washington, authorized the
continued interception of wire and electronic communications over TT139 and TT147,
and the various and changing cellular telephones used by Cesar VALDEZ-SANUDO.
On December 8, 2020, agents began interception of TT139 and TT147, in addition to
TT146 and TT150, VALDEZ-SANUDO’s most recently identified phone. The
interception of TT139 was terminated on December 9, 2020, after agents learned that the
phone was no longer active; the interception of TT146 was terminated on December 9,
2020, after agents learned that the phone was not being used by VALDEZ-SANUDO.
Investigators terminated interception of TT147, TT150 and TT158 on December 16,
2020.

Cc. Probable Cause for three phones belonging to Juan Antonio GONZALEZ-
CARRILLO.

35. In August and September 2018, CS6 informed members of the HSI Seattle
HIDTA Task Force that s/he was aware of an individual trafficking heroin,
methamphetamine, cocaine, and counterfeit oxycodone (hereinafter “M30s’) in King
County, Washington. CS6 stated that an individual s/he knows as Toto, later identified
by agents as Juan Antonio GONZALEZ-CARRILLO, resides in the Kent, Washington
area, and sells pound level quantities of methamphetamine, heroin, and cocaine. CS6
subsequently identified a photograph of Juan Antonio GONZALEZ-CARRILLO (from a
2014 visa application) as the individual CS6 knew as Toto.

36. In December 2018, HSI Seattle used CS6 to conduct a controlled purchase
of 100 pills which contained fentanyl and a sample of heroin from GONZALEZ-
CARRILLO, who was living in Kent, Washington, at the time.

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37. In July 2019, CS6 provided GONZALEZ-CARRILLO an undercover
agent’s phone number, with the undercover agent posing as a customer. On July 19,
2019, GONZALEZ-CARRILLO contacted the undercover agent using 702-619-6891
(TTS). In a subsequent recorded call, GONZALEZ-CARRILLO and the undercover
agent discussed GONZALEZ-CARRILLO’s prices for methamphetamine (referred to as
“tequila’”’) and pills (referred to as “buttons”).

38. During the initial period of interception in this investigation, agents learned
that GONZALEZ-CARRILLO was a supplier for the DTO and that DTO member Jose
Elias BARBOSA was in significant debt to GONZALEZ-CARRILLO. Specifically, on
September 25, at 8:54pm (Session 2177), agents intercepted a call from TT2
(BARBOSA) to 206-539-8614 (TT4) (Alan GOMEZ-MARENTES). During this call,
GOMEZ-MARENTES told BARBOSA that “the dude” [a Mexico source], wanted
GOMEZ-MARENTES to take care of TOTO’s account with BARBOSA. BARBOSA
then suggested that GOMEZ-MARENTES should collect directly from TOTO, and
BARBOSA would pay “here.” Based on the conversation, it appeared that the DTO held
GONZALEZ-CARRILLO responsible for drug debt that GONZALEZ-CARRILLO
believed should be assumed by BARBOSA.

39. On June 5, 2020, the Oregon State Patrol (OSP) stopped a rental vehicle
driving northbound approximately 20 miles per hour over the posted 55 mph speed limit.
OSP identified Julian PINEDA CASILLAS as the driver of the vehicle from his
California driver’s license. Investigators knew PINEDA CASILLAS to be a DTO
courier for MAGANA-RAMIREZ.” In a subsequent consent search, OSP located
approximately 28.8 pounds of methamphetamine and 5.4 pounds of heroin secreted in a

rear quarter-panel of PINEDA CASILLAS’ vehicle.

 

? On April 9, 2020, agents observed Julian PINEDA CASILLAS arriving in Washington at DTO member Jose
Daniel ESPINOZA’s residence, coinciding with intercepted communications which indicated a drug shipment was
set to arrive. Agents identified PINEDA CASILLAS based on his driver’s license photograph. Subsequent
intercepted communications confirmed MAGANA-RAMIREZ and ESPINOZA received the shipment of drugs. On
April 26, 2020, agents observed PINEDA CASILLAS at MAGANA-RAMIREZ’ residence in Washington, again
coinciding with intercepted communications about the arrival of a drug shipment for MAGANA-RAMIREZ.

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40. Pursuant to a federal warrant, agents searched PINEDA CASILLAS’
phone. The search revealed multiple text and audio conversations between PINEDA
CASILLAS and contact “Toto” (323-534-9177). Agents extracted audio messages from
the user of 323-534-9177. When played for wire room linguists and agents familiar with
the voice of GONZALEZ-CARRILLO (based on recordings from the above investigation
into GONZALEZ-CARRILLO), each identified the audio as the voice of GONZALEZ-
CARRILLO. Agents also extracted conversations between PINEDA CASILLAS and
contact “Meka” (MAGANA-RAMIREZ, using 503-885-4458, a number previously
identified for MAGANA-RAMIREZ through execution of a cell site simulator warrant).

41. The WhatsApp messages between PINEDA CASILLAS, GONZALEZ-
CARRILLO, and MAGANA-RAMIREZ showed that GONZALEZ-CARRILLO
supplied PINEDA CASILLAS with heroin on May 28, 2020 for the DTO in Washington
State. On that date, GONZALEZ-CARRILLO told PINEDA CASILLAS he had the
“hairy one” [a known code for heroin] and discussed the best time to provide it to
PINEDA CASILLAS. GONZALEZ-CARRILLO then quoted PINEDA CASILLAS a
price of “15” for the drugs.

42. Following this conversation with GONZALEZ-CARRILLO, PINEDA
CASILLAS had the following WhatsApp text exchange with MAGANA-RAMIREZ.
The following WhatsApp texts took place between 9:44 a.m. and 11:25 a.m. on May 28,
2020:

PINEDA CASILLAS: Pops.

PINEDA CASILLAS: Please confirm.

PINEDA CASILLAS: I am going to see Toto in a little bit.

PINEDA CASILLAS: For the hairy one [heroin]

PINEDA CASILLAS: He (TOTO) told me that there are 15.

PINEDA CASILLAS: Is that okay?

MAGANA-RAMIREZ: _ It’s all good

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43. Based on my training and experience I believe that the above
communications between PINEDA CASILLAS and GONZALEZ-CARRILLO are a
discussion about GONZALEZ-CARRILLO supplying PINEDA with the hairy one,
which I know to be a slang term for heroin. GONZALEZ-CARRILLO and PINEDA
CASILLAS then engaged in a discussion about where to meet. Following these
communications, PINEDA CASILLAS then contacted MAGANA-RAMIREZ to notify
him that he was going to see GONZALEZ-CARRILLO to pick up the heroin. PINEDA
CASILLAS then checked the amount with MAGANA-RAMIREZ, demonstrating that
PINEDA CASILLAS was bringing the heroin for MAGANA-RAMIREZ.

44. Subsequent text and audio communications indicated that, despite
attempting to supply PINEDA CASILLAS with methamphetamine as well,
GONZALEZ-CARRILLO was unable to secure a shipment of methamphetamine from
Mexico in time for PINEDA CASILLAS to obtain it before driving to Washington State.

45. Telephone toll analysis showed that GONZALEZ-CARRILLO
discontinued use of 323-534-9177 on June 8, 2020, approximately two days after
PINEDA CASILLAS’ stop in Oregon on June 5, 2020. T-Mobile subscriber data showed
that telephone number 562-388-0172 (TT94) was activated that same date, on June 8,
2020, and subscribed to “PEDRO CARILLO” at “15050 LA MIRADA BLVD LA
MIRADA CA 90638-4743.”

46. During the week of July 13, 2020, DEA TFO Luke Brandeberry contacted
TT94 and recorded a call with its user. Following the call, Spanish-speaking monitors
familiar with GONZALEZ-CARRILLO’s voice listened to the call to TT94 and
identified the user of TT94 as GONZALEZ-CARRILLO based on the audio clips of
GONZALEZ-CARRILLO pulled off of PINEDA CASILLAS’ phone.

47. Inthe month of July 2020, CS6 stated that s/he had most recently received
a call from GONZALEZ-CARILLO at 442-235-8637 (TT95). Investigators determined
this to be another phone for GONZALEZ-CARRILLO based on subscriber data and toll

analysis.

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48. On July 17, 2020, investigators obtained a federal tracking warrant for both
TT94 and TT9S.

49. On July 20, 2020 pings for TT94 and TT95 (GONZALEZ-CARRILLO)
placed him in the area of Perris, California. Agents know from prior GPS tracking of
GONZALEZ-CARRILLO’s phones between July and September 2019 that he resided in
this same area of California.

50. On July 21, 2020, DEA SA Jared Gibb, TFO Lance Pearson, and FBI SA
Ricky McKinney established physical surveillance in the area of Gardena, California, the
area where TT94 was providing pings. At approximately 3:30pm, TT94 provided pings
with a certainty of 16 meters at Las Islas Marias restaurant at 444 W Gardena Blvd,
Gardena, California. Agents identified GONZALEZ-CARRILLO at this location, in the
vicinity of TT94. Agents then followed GONZALEZ-CARRILLO and his companion to
731 West 148" Street, Gardena, California, believed to be a residence used by
GONZALEZ-CARRILLO and some of his family members. Pings for both TT94 and
TT95 showed that GONZALEZ-CARRILLO stayed overnight at this location.
GONZALEZ-CARRILLO left the location the following morning but returned for at
least part of the evening on July 22, 2020.

51. OnJuly 28, 2020, DEA agents executed a federal search warrant at
GONZALEZ-CARRILLO’s residence at 731 West 148" Street, Gardena, California.
During the execution of this search warrant, four individuals including Gerardo
CARRILLO-MARTINEZ were present. Although GPS pings for one of GONZALEZ-
CARRILLO’s cell phones (TT94) showed that the phone was still at this residence,
GONZALEZ-CARRILLO was not located. CARRILLO-MARTINEZ indicated that
GONZALEZ-CARRILLO was at the residence approximately two weeks prior; however,
CARRILLO-MARTINEZ believed that GONZALEZ-CARRILLO had driven up to
Washington State.

52. During the search, agents located various drug scales, drug packaging, a

heat sealer, and three cell phones on a shelf, along the east side of the garage. One of

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these three phones was identified as TT94 after investigators placed a voice call to TT94.
A wallet with Gerardo CARRILLO-MARTINEZ’s Mexico identification card was
located next to the three cell phones. However, investigators did not find CARRILLO-
MARTINEZ (or any of the other occupants) in the garage and none of those persons
claimed that the three phones located in the garage belonged to them. Knowing that
GONZALEZ-CARRILLO’s known phone TT94 was found sitting with the other two
phones, and that GONZALEZ-CARRILLO has a history of maintaining multiple
simultaneous phones for drug trafficking, agents believe that all three phones belonged to
GONZALEZ-CARRILLO and were more than likely used to further his drug activities.
D. Probable Cause for BARBOSA’s Phone

53. Agents identified BARBOSA as a drug redistributor who previously
worked for GONZALEZ-CARRILLO and Alan GOMEZ-MARENTES. Agents
attempted to locate and arrest BARBOSA on July 28, 2020, during the coordinated arrest
of multiple DTO members but were unable to locate him.

54. On September 15, 2020, U.S. Magistrate Judge Michelle L. Peterson signed
a search warrant authorizing agents to obtain real-time GPS location data for telephone
253-754-4340 (TT116), which was believed to be used by BARBOSA.

55. Onthe morning of September 30, 2020, GPS location data showed that the
device was located near the intersection of Kent Kangley Road and 114th Ave. SE in
Kent, WA. At approximately 1:55 p.m., GPS location data indicated that the device was
located in an apartment complex located at 11239 SE 260th St, Kent, WA. At
approximately 2:00 p.m., agents established surveillance at a building within the
apartment complex at which the phone was located (with an accuracy of 6 meters, per
GPS location data). Agents observed BARBOSA standing on the balcony of an upper
level apartment in the building. Agents recognized BARBOSA based on multiple prior
surveillance operations in this investigation. Agents then established surveillance on all

sides of the building.

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56. At2:20 p.m., agents observed BARBOSA walk out of the apartment
building to the parking lot, and approach a parked vehicle. Agents moved in and took
BARBOSA into custody as he entered the vehicle, placing him in handcuffs. During a
pat-down search, agents located a blue Motorola cell phone (marked as Exhibit N-32) in
BARBOSA’s pants pocket.

57. During a post-arrest interview, BARBOSA denied involvement in drug
trafficking. With respect to the blue Motorola cell phone, BARBOSA consented to a
search of the phone. When asked to unlock the device, BARBOSA claimed to try to
unlock the device, but was unsuccessful. BARBOSA then looked at the phone and stated
that he did not even believe that it was his phone. Agents believe that BARBOSA did not
want agents to have access to his phone.

58. | BARBOSA was transported to the Federal Detention Center and booked on
the warrant in the immediate investigation. BARBOSA’s phone was transported to the
DEA Tacoma Resident Office and booked into evidence.

VI. COMMON CHARACTERISTICS OF DRUG TRAFFICKERS AND
MONEY LAUNDERERS

59. Based upon my training, experience, and participation in this and other
investigations involving narcotics trafficking, my conversations with other experienced
investigators and law enforcement investigators with whom I work, and interviews of
individuals who have been involved in the trafficking of methamphetamine, heroin and
other narcotics, I have learned and know the following.

60. Guns are commonly carried by traffickers for protection; especially when
traveling with a high value amount of narcotics or currency making them a more likely
target of robbery or thefts. Many times, these guns are purchased or borrowed from co-
conspirators or other traffickers and evidence of these transactions such as videos, photos,
and text communications are stored on cellphones.

61. Drug traffickers often attempt to legitimize their cash drug proceeds. To

accomplish this goal, drug traffickers use financial institutions and their attendant

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services, securities, cashier's checks, safe deposit boxes, money drafts, real estate, shell
operations, and business fronts. I know from my training and experience that records and
conversations relating to money laundering are often found on the cellular telephones
used by drug traffickers.

62. Drug traffickers use mobile electronic devices including cellular telephones
and other wireless communication devices to conduct their illegal activities. For
example, traffickers of controlled substances commonly maintain records of addresses,
vehicles, or telephone numbers which reflect names, addresses, vehicles, and/or
telephone numbers of their suppliers, customers and associates in the trafficking
organization. It is common to find drug traffickers keeping such records of said associates
in cellular telephones and other electronic devices. Traffickers often maintain cellular
telephones for ready access to their clientele and to maintain their ongoing narcotics
business. Traffickers frequently change their cellular telephone numbers to avoid
detection by law enforcement, and it is common for traffickers to use more than one
cellular telephone at any one time.

63. Drug traffickers use cellular telephones to maintain contact with their
suppliers, distributors, and customers. They prefer cellular telephones because, first, they
can be purchased without the location and personal information that landlines require.
Second, they can be easily carried to permit the user maximum flexibility in meeting
associates, avoiding police surveillance, and traveling to obtain or distribute drugs.

Third, they can be passed between members of a drug conspiracy to allow substitution
when one member leaves the area temporarily. Since cellular phone use became
widespread, every drug dealer I have interacted with has used one or more cellular
telephones for his or her drug business. I also know that it is common for drug traffickers
to retain in their possession phones that they previously used, but have discontinued
actively using, for their drug trafficking business. Based on my training and experience,
the data maintained in a cellular telephone used by a drug dealer is evidence of a crime or

crimes. This includes the following:

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a. The assigned number to the cellular telephone (known as the mobile
directory number or MDN), and the identifying telephone serial number (Electronic
Serial Number, or ESN), (Mobile Identification Number, or MIN), (International Mobile
Subscriber Identity, or IMSJ), or (International Mobile Equipment Identity, or IMEI) are
important evidence because they reveal the service provider, allow us to obtain subscriber
information, and uniquely identify the telephone. This information can be used to obtain
toll records, to identify contacts by this telephone with other cellular telephones used by
co-conspirators, to identify other telephones used by the same subscriber or purchased as
part of a package, and to confirm if the telephone was contacted by a cooperating source.

b. The stored list of recent received calls and sent calls is important evidence.
It identifies telephones recently in contact with the telephone user. This is valuable
information in a drug investigation because it will identify telephones used by other
members of the organization, such as suppliers, distributors and customers, and it
confirms the date and time of contacts. If the user is under surveillance, it identifies what
number he called during or around the time of a drug transaction or surveilled meeting.
Even if a contact involves a telephone user not part of the conspiracy, the information is
helpful (and thus is evidence) because it leads to friends and associates of the user who
can identify the user, help locate the user, and provide information about the user.
Identifying a defendant’s law-abiding friends is often just as useful as identifying his
drug-trafficking associates.

c. Stored text messages are important evidence, similar to stored numbers.
Investigators can identify both drug associates, and friends of the user who likely have
helpful information about the user, his location, and his activities.

d. Photographs and videos on a cellular telephone are evidence because they
help identify the user, either through his or her own picture, or through pictures of
friends, family, and associates that can identify the user. Pictures also identify associates
likely to be members of the drug trafficking organization. Some drug traffickers

photograph groups of associates, sometimes posing with weapons and showing

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identifiable gang signs. Also, digital photos often have embedded “geocode” information
within them. Geocode information is typically the longitude and latitude where the photo
was taken. Showing where the photo was taken can have evidentiary value. This
location information is helpful because, for example, it can show where coconspirators
meet, where they travel, and where assets might be located

e. Stored address records are important evidence because they show the user’s
close associates and family members, and they contain names and nicknames connected
to phone numbers that can be used to identify suspects.

f. Itis common for drug traffickers to use encrypted means of
communication, such as WhatsApp, Signal, Wickr, and Telegram, to attempt to avoid
detection by law enforcement. It is common for drug traffickers to install and use these
apps on their phones in order to make encrypted calls and send encrypted messages.

VII. CONCLUSION

64. For the reasons set forth above, I believe there is probable cause to believe
that evidence, fruits, and instrumentalities of violations of Title 21, United States Code,
Sections 841(a)(1), 843(b), 846, and 952, and Title 18, United States Code, Sections 1956
and 1957, will be found in a search of the four cell phones, more fully described in
Attachments A, and Al-A4.
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65. Because this warrant seeks only permission to examine cellular telephones
already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises. Consequently, I submit there is reasonable cause

for the Court to authorize execution of the warrant at any time in the day or night.

‘l AT

Luke A. Brandeberey_ 7
Task Force Officer
Drug Enforcement Administration

The above-named agent provided a sworn statement attesting to the truth of the

contents of the foregoing on the 10th day of March 2021.

Spares Dryche

THERESA L. FRICKE
UNITED STATES MAGISTRATE JUDGE

 

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ATTACHMENT A
Cellular Phones To Be Searched
This warrant authorizes the government to search the following locations and
vehicles for evidence and/or fruits of the commission of the following crimes, as further
described in Attachment B hereto: distribution and possession with intent to distribute
controlled substances, in violation of Title 21, United States Code, Section 841(a)(1), and
conspiracy to commit these offenses in violation of Title 21, United States Code, Section
846; use of a communications facility in furtherance of a felony drug offense in violation
of Title 21, United States Code, Section 843(b); importation of controlled substances, in
violation of Title 21, United States Code, Section 952; and laundering of monetary
instruments in violation of Title 18, United States Code, Sections 1956 and 1957.

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ATTACHMENT Al

A black Alcatel flip cell phone seized during the execution of a federal search
warrant at the residence of Juan Antonio GONZALEZ-CARRILLO (731 West 148"
Street, Gardena, California), and listed in DEA reports as Exhibit N-107.

Attachment A - 2

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ATTACHMENT A2

A Samsung Galaxy Note 9 cell phone seized during the execution of a federal
search warrant at the residence of Juan Antonio GONZALEZ-CARRILLO (731 West
148" Street, Gardena, California), and listed in DEA reports as Exhibit N-108.

Attachment A - 3

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ATTACHMENT A3

A white Apple Iphone seized during the execution of a federal search warrant at
the residence of Juan Antonio GONZALEZ-CARRILLO (731 West 148" Street,
Gardena, California), and listed in DEA reports as Exhibit N-109.

Attachment A - 4

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ATTACHMENT A4
A blue Motorola cell phone, seized during the arrest of fugitive Jose Elias
BARBOSA, and listed in DEA reports as Target Telephone 116 (TT116) and Exhibit N-
32.

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ATTACHMENT B
Items to be Seized
From the cellular telephones listed in Attachment A of this warrant, the
government is authorized to search for and seize the following items, which are evidence
and/or fruits of the commission of the following crimes: distribution and possession with
intent to distribute controlled substances, in violation of 21 U.S.C. § 841(a)(1), and
conspiracy to commit these offenses, in violation of 21 U.S.C. § 846; use of a
communications facility in furtherance of a felony drug offense, in violation of 21 U.S.C.
§ 843(b); importation of controlled substances, in violation of 21 U.S.C. § 952; money
laundering, and conspiracy to commit money laundering, in violation of 18 U.S.C.
§§ 1956 and 1957:
. Assigned telephone number and other identifying numbers (e.g., ESN,
MIN, IMSI, IMED;

. Stored list of recent received, sent, or missed calls;
. Stored address records and stored contact information;
s Stored photographs and videos related to the aforementioned crimes of

investigation, such as photographs and videos of narcotics, currency, guns
or other weapons, tracking numbers, codes, account information, suspected
criminal activity, and/or the user of the phone or co-conspirators, including
any GPS data associated with the photo or video;

. Stored messages that relate to the above-listed federal crimes or that may
show the user of the phone and/or coconspirators, including Apple
iMessages, Blackberry Messenger messages, WhatsApp messages, or other
similar messaging services where the data is stored on the telephone;

. Stored data relevant to financial transactions, or physical/electronic trades
of cash for goods/services (trade-based money laundering); and

. Stored tracking or navigation data.

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